           Case 2:11-cr-00295-MCE Document 97 Filed 10/03/11 Page 1 of 4


1    BENJAMIN B. WAGNER
     United States Attorney
2    DANIEL S. McCONKIE
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2725
5
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       CASE NO. CRS-11-295 MCE
                                      )
12             Plaintiff,             )       STIPULATION AND PROTECTIVE
                                      )       ORDER RE: DISSEMINATION OF
13   v.                               )       DISCOVERY DOCUMENTS CONTAINING
                                      )       NAMES AND PERSONAL IDENTIFYING
14   YURIY KORZHOV,                   )       INFORMATION
                                      )
15             Defendant.             )
                                      )
16
17        Pursuant to Fed. R. Crim. P. 16(d), the undersigned parties in
18   United States v. Sergey Potepalov, et. al., stipulate and agree, and
19   respectfully request that the Court order that:
20        1.   The United States shall turn over discovery in this case
21             subject to this stipulation and associated protective
22             order.
23        2.   Certain of the documents contained in the government’s
24             discovery production contain names and personal
25             identifying information of certain defendants and other
26             individuals (hereinafter, the “Protected Material”).        Such
27             personal identifying information includes, but is not
28             limited to, surnames, street addresses, telephone numbers,

                                          1
      Case 2:11-cr-00295-MCE Document 97 Filed 10/03/11 Page 2 of 4


1         driver’s license numbers, social security numbers,
2         financial account numbers, dates of birth, A-file numbers,
3         and any other alphanumeric identifiers attributed to any
4         person.   Any pages of discovery that contain no personal
5         identifying information are not subject to this order.
6    3.   The Protected Material is now and will forever remain the
7         property of the United States.       The Protected Material is
8         entrusted to counsel for each defendant only for purposes
9         of representation in this case.
10   4.   Counsel for each defendant shall not give Protected
11        Material or any copy of Protected Material to any person
12        other than counsel’s staff, investigator, or retained
13        expert(s).    The terms “staff,” “investigator,” and
14        “expert” shall not be construed to describe any defendant
15        or other person not either regularly employed by counsel
16        or a licensed investigator or expert hired in this case.
17   5.   Any person receiving Protected Material or a copy of
18        Protected Material from counsel for any defendant shall be
19        bound by the same obligations as counsel and further may
20        not give the Protected Material to anyone (except that the
21        Protected Material shall be returned to counsel).
22   6.   Counsel shall maintain a list of persons to whom any
23        Protected Material, or copies thereof, have been given.
24        Such persons shall be shown a copy of this Stipulation and
25        Order and shall sign a copy of the Stipulation and Order
26        and note that they understand its terms and agree to them.
27   7.   The defendants in this case may review the Protected
28        Material and be aware of its contents, but shall not be

                                     2
            Case 2:11-cr-00295-MCE Document 97 Filed 10/03/11 Page 3 of 4


1               given control of the Protected Material or any copies
2               thereof.   Notwithstanding the foregoing, counsel are
3               permitted to provide each defendant with copies of
4               documents otherwise classifiable as Protected Material so
5               long as counsel completely redact all personal identifying
6               information from those documents prior to providing them
7               to a defendant.
8          8.   The foregoing notwithstanding, after the Trial
9               Confirmation Hearing in this case, counsel, staff, and
10              investigator for any defendant who has confirmed for trial
11              may make copies of the Protected Material for trial
12              preparation and presentation.       Any copies must, however,
13   ///
14   ///
15   ///
16   ///
17   ///
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

                                           3
           Case 2:11-cr-00295-MCE Document 97 Filed 10/03/11 Page 4 of 4


1    remain in the possession of counsel, staff, investigator, expert or
2    the Court.
3                                     Respectfully Submitted,
4                                     BENJAMIN B. WAGNER
                                      United States Attorney
5
6    DATE: September 29, 2011 By:     /s/ Daniel S. McConkie
                                      DANIEL S. McCONKIE
7                                     Assistant U.S. Attorney
8    DATE: September 29, 2011         /s/ Peter Kmeto
                                      PETER KMETO
9                                     Attorney for YURIY KORZHOV
                                      By E-mail Authorization
10
11
          IT IS SO ORDERED:
12
13
14   DATED: September 30, 2011
15
16
17
                                      _____________________________________
18                                    KENDALL J. NEWMAN
                                      UNITED STATES MAGISTRATE JUDGE
19
20
21
22
23
24
25
26
27
28

                                          4
